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                   Exhibit A
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Kelley, Matthew E. (DC)

From:                             Enlow, Courtney D. (CIV) <Courtney.D.Enlow@usdoj.gov>
Sent:                             Wednesday, January 22, 2020 6:43 AM
To:                               Kelley, Matthew E. (DC)
Cc:                               Shapiro, Elizabeth (CIV); Tobin, Charles D. (DC); Parsons, Emmy (DC); Matt Topic
Subject:                          Re: CNN v. DOJ, No. 19-cv-1278



⚠ EXTERNAL
Dear Matthew,

As I stated in the status report filed in advance of the last hearing, certain 302s have been referred to other members of
the intelligence community. This is FBI’s standard process in compliance with 28 CFR 16.4 and the production
order. Once the members of the intelligence community have finished their review, those 302s will be released with the
appropriate redactions. It is my understanding that those members of the intelligence community will not be finished
with their review by the end of the day today, as you have requested.

I am in a deposition today and will not be responding to email. I am happy to discuss further tomorrow in the early
afternoon if desired.

Courtney Enlow
U.S. Department of Justice
(202) 616-8467



        On Jan 20, 2020, at 4:30 PM, Kelley, Matthew E. <kelleym@ballardspahr.com> wrote:


        Dear Courtney,

        The Department of Justice has not complied with the Court’s Orders of November 28, 2019 (Dkt. 47) and
        December 16, 2019 (Dkt. 49). We write to seek the Department’s immediate compliance with those
        orders and avoid the necessity of seeking further relief from the Court.

        As you know, in the November 28 Order the Court directed DOJ to “process” the FD-302 reports
        provided to the House Judiciary Committee and Permanent Select Committee on Intelligence and
        “produce . . . the non-exempt portions of these records” by January 2, 2020. Dkt. 47 at 3. DOJ then
        moved the Court for an extension of that deadline, stating that the Department required additional time
        for, inter alia, “consultations with entities outside the Department.” Def.’s Mot. for Extension of Time
        and Request for Expedited Ruling at 2 (Dkt. 48). As you explained in your email conferring with CNN
        regarding that motion, that meant the Department needed to provide for “additional review by others
        in the Department or the Executive Branch who may have equities in the material.”

        The Court in its December 16 order granted the Department’s motion “to complete its production of the
        typewritten narratives of the FD-302s made available to the” House committees. Dkt. 49 at 1-2
        (emphasis added). The Court further ordered the Department to “process and produce” non-exempt
        portions of the 302s to CNN in two stages, to be completed on or before January 17, 2020. Id. at 2.
        However, the cover letters for the January 2 and January 17 productions show that not all of the 302s
        subject to the Court’s orders have been processed and produced. In that correspondence, the
        Department asserted that a total of 118 pages were being withheld on the basis of “Referral/Consult,”
                                                            1
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an apparent reference to the referral and consultation process with other agencies that you represented
to us and to the Court required until January 17 to complete.
Because these 118 pages have not been processed and produced – nor has the Department cited any
FOIA exemption to justify their being withheld – the Department is in violation of the Court’s orders as
well as FOIA. Accordingly, please produce to us all non-exempt portions of those 118 pages by close of
business Wednesday, January 22, 2020.
If we do not receive those records at that time, we intend to seek an order from the Court enforcing its
prior orders.

Sincerely,

Matthew E. Kelley (Pronouns: he, him, his)




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